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 8                           UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 9
10
   SAGE HUMPHRIES, GINA MENICHINO,                    Case No. 2:21-cv-01412-ART-EJY
11 ROSEMARIE DeANGELO, DANIELLE
   GUTIERREZ, and JANE DOE 100, JULIET
12 DOHERTY, and JANE DOE 200
                                                           INDEX OF EXHIBITS
13                 Plaintiffs/Counterclaim-
14                 Defendants,

15     v.

16 MITCHELL TAYLOR BUTTON and
   DUSTY BUTTON
17
             Defendants/
18           Counterclaim Plaintiffs /
19           Third Party Plaintiffs,

20           v.

21 MICHAEL S. HUMPHRIES, MICAH L.
   HUMPHRIES, ANTHONY GIOVANNI
22 DEANE, DARYL ALLAN KATZ, and
   CHASE FINLAY,
23
              Third Party Defendants.
24
25
26
27
28                                                -1-
                                            Index of Exhibits
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     Exh                                            Description
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      1     Screenshots of Video Taken of Sage, Dusty, and Mitchell
 4
      2     Photos of Sage with the Buttons
 5
      3     Card Written by Sage to Dusty
 6
      4     Messages from Sage Humphries to the Buttons
 7
      5     Photograph
 8
      6     Sage Humphries Texts with Daryl Katz
 9
      7     Messages from Sage Humphries to the Buttons
10
      8     Messages from Sage Humphries to the Buttons
11
      9     Messages from Sage Humphries to the Buttons
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     10     Messages from Sage Humphries to the Buttons
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14   11     Messages from Sage Humphries to the Buttons

15   12     Messages from Sage Humphries to the Buttons

16   13     Messages from Sage Humphries to the Buttons

17   14     Snapchat Photo from Sage

18   15     Message from Sage Humphries to Dusty and Mitchell

19   16     Message from Sage to the Buttons

20   17     Message from Sage to Deane

21   18     Lyrical Transcription of “Don’t Ever Leave Me”

22   19     Lyrical Transcription of Mr. Ferrari”

23   20     Messages from Sage Humphries to Mitchell

24   21     Photos Taken with Juliet Doherty

25   22     Declaration of Dusty Button

26   23     Declaration of Mitchell Taylor Button
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